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               COMPOSITE EXHIBIT “A”
                Case 20-12890-mdc                                                      Doc 97-1                Filed 11/27/23 Entered 11/27/23 13:25:51                                                                          Desc
                                                                                                             Exhibit Page 2 of 9
Loan Number                                                                                                  Payment Change
   Case#                      20-12890                                Effective Date              4/1/2021        12/1/2022      10/1/2023
BK Filed Date                  7/3/2020                                  Amount                  $3,659.98        $3,734.18      $3,608.63
  Borrower                 Andrenita Haddad


                                                                                                                                                                                       To Be Paid By Debtor
                                                           AGREED ORDER TRACKING                                                                                                     AGREED ORDER ARREARS                                7/1/2021
                            Entered:                                  04/07/21                                                                                                                 Payments                                  8/1/2021
                   Regular Payments Resume:                           04/01/2021 iao $ 3659.98                                                                         From           To          Payment Amount Total                   9/1/2021
                   Arrears Repayment Terms:                           Arrears are cured                                                                                                                                  $0.00          10/1/2021
                                                                                                                                                                                                                         $0.00          11/1/2021
                    Strict Compliance Terms:                                                                                                                                                                             $0.00          12/1/2021
                                                      Amount            Regular                                                                 AO                                                                       $0.00
   Date                                              Applied to         Payment                                  Add Pmt      To/From AO     Suspense                             Total Payments in Arrears              $0.00
 Received                  Amount Received            Reg Pmt             Date     Amount Applied to Add Pmt      Date         Suspense       Balance    AO Balance      Fees/Costs
   4/6/2021                                $3,530.04   $3,530.04          04/01/21                                                   $0.00         $0.00       $0.00                           Atty Fees/Costs
   5/5/2021                                $3,530.04   $3,530.04          05/01/21                                                   $0.00         $0.00       $0.00                         Property Inspections
   6/5/2021                                $3,530.04                                                                             $3,530.04     $3,530.04       $0.00                            Late Charges
  6/10/2021                               -$3,530.04                                                                            -$3,530.04         $0.00       $0.00                                 NSF
  6/11/2021                                $3,530.04   $3,530.04           06/01/21                                                  $0.00         $0.00       $0.00                         Western Union Fees
  7/15/2021                                $3,659.98                                                                             $3,659.98     $3,659.98       $0.00                               Appraisal
  7/20/2021                               -$3,659.98                                                                            -$3,659.98         $0.00       $0.00                                 Other
  8/10/2021                                $3,659.98   $3,530.04           07/01/21                                                $129.94      $129.94        $0.00   Total Fees/Costs                                  $0.00
  8/26/2021                                $3,659.98   $3,530.04           08/01/21                                                $129.94      $259.88        $0.00                          Less Suspense Balance
 10/14/2021                                $3,700.00   $3,530.04           09/01/21                                                $169.96      $429.84        $0.00               AGREED ORDER TOTAL                    $0.00
 11/30/2021                                $3,700.00   $3,530.04           10/01/21                                                $169.96      $599.80        $0.00
  1/11/2022                                $3,700.00   $3,530.04           11/01/21                                                $169.96      $769.76        $0.00                   To Be Paid By Trustee
  2/14/2022                                $3,700.00   $3,530.04           12/01/21                                                $169.96      $939.72        $0.00                 AGREED ORDER ARREARS
   3/7/2022                                $3,700.00   $3,530.04           01/01/22                                                $169.96     $1,109.68       $0.00                           Payments
  4/15/2022                                $3,700.00   $3,530.04           02/01/22                                                $169.96     $1,279.64       $0.00   From           To          Payment Amount Total
  5/13/2022                                $3,700.00                                                                             $3,700.00     $4,979.64       $0.00                                                     $0.00
  5/19/2022                               -$3,700.00                                                                            -$3,700.00     $1,279.64       $0.00                                                     $0.00
  6/14/2022                                $3,800.00   $3,530.04           03/01/22                                                $269.96     $1,549.60       $0.00                                                     $0.00
  7/15/2022                                $3,800.00   $3,530.04           04/01/22                                                $269.96     $1,819.56       $0.00              Total Payments in Arrears              $0.00
   8/1/2022                                $1,200.00                                                                             $1,200.00     $3,019.56       $0.00     Fees/Costs
  8/10/2022                                $5,000.00   $3,530.04           05/01/22                                              $1,469.96     $4,489.52       $0.00                           Atty Fees/Costs
  8/10/2022                                            $3,530.04           06/01/22                                             -$3,530.04      $959.48        $0.00                         Property Inspections
  8/17/2022                                  $500.00                                                                               $500.00     $1,459.48       $0.00                            Late Charges
  9/20/2022                                $3,800.00   $3,530.04           07/01/22                                                $269.96     $1,729.44       $0.00                                 NSF
  10/7/2022                                $3,793.01   $3,530.04           08/01/22                                                $262.97     $1,992.41       $0.00                         Western Union Fees
 11/18/2022                                $3,793.01   $3,530.04           09/01/22                                                $262.97     $2,255.38       $0.00                               Appraisal
  12/2/2022                                  $506.99                                                                               $506.99     $2,762.37       $0.00                                 Other
  12/2/2022                                $3,793.01   $3,530.04           10/01/22                                                $262.97     $3,025.34       $0.00   Total Fees/Costs                                  $0.00
  12/9/2022                                $4,500.00   $3,530.04           11/01/22                                                $969.96     $3,995.30       $0.00                          Less Suspense Balance
  12/9/2022                                            $3,734.18           12/01/22                                             -$3,734.18      $261.12        $0.00               AGREED ORDER TOTAL                    $0.00
  1/13/2023                                $3,734.18   $3,734.18           01/01/23                                                  $0.00      $261.12        $0.00
  3/20/2023                                $3,734.18   $3,734.18           02/01/23                                                  $0.00      $261.12        $0.00
  4/28/2023                                $3,734.18   $3,734.18           03/01/23                                                  $0.00      $261.12        $0.00
   5/2/2023                                $1,701.58                                                                             $1,701.58     $1,962.70       $0.00
  6/15/2023                                $5,505.66   $3,734.18           04/01/23                                              $1,771.48     $3,734.18       $0.00
  6/15/2023                                            $3,734.18           05/01/23                                             -$3,734.18         $0.00       $0.00
  8/22/2023                                $3,734.18   $3,734.18           06/01/23                                                  $0.00         $0.00       $0.00
 10/20/2023                                $3,760.00   $3,734.18           07/01/23                                                 $25.82        $25.82       $0.00
                                                                                                                                     $0.00        $25.82       $0.00
                                                                                                                                     $0.00        $25.82       $0.00
                                                                                                                                     $0.00        $25.82       $0.00
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                                                                                                                                     $0.00        $25.82       $0.00
                                                                                                                                     $0.00        $25.82       $0.00
             Type                                   Date              Amount
    Due For: Reg                                           08/01/23     $3,734.18
             Reg                                           09/01/23     $3,734.18
             Reg                                           10/01/23     $3,608.63
             Reg                                           11/01/23     $3,608.63




                Suspense                                                    $25.82
                               TOTAL                                    $14,711.44
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                            ORDER

                     14th         April
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                           EXHIBIT “B”
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James Robertson, Esquire Everett Anschutz,         David J. Schneid, Esquire John Crane, Esquire
                        Esquire

Member of Texas Bar        Member of Texas Bar     Member of Florida Bar    Member of Texas Bar


                                         October 23, 2023

VIA EMAILbrad@sadeklaw.com AND REGULAR MAIL

BRAD J. SADEK
Sadek and Cooper
1500 JFK Boulevard
Ste 220
Philadelphia, PA 19102

VIA REGULAR MAIL

Andrenita Haddad
128 Knights Bridge Drive
Yardley, PA 19067


RE:    Debtor(s): Andrenita Haddad
       Case No. 20-12890-elf
       Notice of Default for Andrenita Haddad

Dear Sir/Madam,

As you may recall, this firm represents U.S. Bank Trust National Association, not in its individual
capacity but solely as Owner Trustee for VRMTG Asset Trust, a secured creditor with respect to the
property located at 128 Knights Bridge Drive, Yardley, PA 19067. Please consider this letter as a
Notice of Default under the terms of the Stipulation with respect to the Motion for Relief. (DE 43)
(“Stipulation”).

According to our client’s records, the Debtor has not made the following mortgage payment pursuant
to the Stipulation. In accordance with the Stipulation, U.S. Bank Trust National Association, not in
its individual capacity but solely as Owner Trustee for VRMTG Asset Trust, hereby provides notice
demanding the default be cured within fifteen (15) days of the date of this notice.
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Pursuant to the terms of the Stipulation, this default needs to be cured within fifteen (15) days of
the date of this Notice.


 Monthly Payments Past Due 07/01/2023-9/01/2023 @ $3,734.18                  $11,202.54
 each
 Monthly Payments Past Due 10/01/2023 @ $3,608.63 each                       $3,608.63
 Suspense Balance                                                            $0.00
 Total Amount Due to Cure Default:                                           $14,811.17

The address where payments should be sent is:
                                        Selene Finance LP
                                     3501 Olympus Boulevard
                                       Dallas, Texas 75019

Please note, failure to cure this default within fifteen (15) days from the date of this notice will
result in U.S. Bank Trust National Association, not in its individual capacity but solely as Owner
Trustee for VRMTG Asset Trust filing an order terminating the automatic stay. Please notify me
once the payment has been sent, and provide me with proof of the payment.

If you have any questions or wish to discuss this matter in more detail, please contact at me at
mimcgowan@raslg.com. Thank you.

Sincerely,

/s/ Michelle L. McGowan
